                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                          Case No. 3:18cr00011

JAMES ALEX FIELDS, JR.


                DEFENDANT’S SENTENCING MEMORANDUM

      The essential property of mercy is that it applies to the undeserving. The

hope attached to the expression of mercy is that, in time, the undeserving can

change. Due to his tender age, his consistent history battling various mental health

diagnoses, the ongoing effects of trauma he endured as a child, and as an expression

of the unbending conviction that no individual is wholly defined by their worst

moments, this court should resist the temptation to conclude James Fields’ story

after its first twenty years by imposing a life sentence.

      With respect to his age, the Supreme Court has ruled that the Eighth

Amendment clearly limits the sentences that can be imposed upon children. This is

due, in part, to the scientific consensus around two ideas that are as true as they

are intuitive: first, that the physiological processes of growth extend well past

adolescence and, second, that emerging adults have a greater capacity for reform.

In short, we are increasingly coming to understand that adolescence—and the well-

understood immaturity, irresponsibility, impetuousness, and recklessness that

accompany it—does not end at age 18. In fact, contemporary neuroscience proves

that the constitutionally distinct status of juveniles must extend to at least the age

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of 21. As a result, it would be unconstitutionally cruel and unusual to sentence

someone who was 20 at the time of an offense to a sentence of life imprisonment.

Even in the absence of such a conclusion about the Eighth Amendment, the Court

must still consider the mitigating aspects of James’ youth at the time of the offense.

      In addition, James has battled mental illness since he was a young child. He

inherited a strong family history of bipolar disorder, and was hospitalized three

times during his school years for his mental illness, with a myriad number of

doctors and interventions in between. Fundamentally, James’ mental illness causes

him to lose emotional and behavioral control in stressful situations. His cognitive

distortions cause him to respond with aggression and anger. By high school, his

medications were stabilized, and he was able to exercise control over his symptoms.

This period ended when James was rejected from military school due to his

medications, and he made the decision to stop treatment so he could enlist after

high school. He only started taking medication again while incarcerated after

August 12th.

      Finally, James’ story cannot be told without understanding the childhood

trauma of growing up with the knowledge that his Jewish grandfather (who

suffered from bipolar disorder) had murdered James’ grandmother (who also

suffered from bipolar disorder) before committing suicide. James’ father—who also

suffered from bipolar disorder—was killed in a car accident before James was born.

James’ mother was in an accident that made her a paraplegic before he was born.

She raised him from a wheelchair as a single mother.


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      If mercy is extended only to the undeserving, we do so as an act of hope. In

particular, we extend mercy in the hope that an individual’s worst act is neither

their only act, nor their last. This worst act was committed in the shadow of James’

own history and was the result of a terrible decision he made in a few minutes when

he found himself trying to get back to Ohio but was instead unexpectedly blocked by

a crowd of counter-protesters.

      In this case, there is reason for hope. The reason adolescent behavior must

be judged differently is because “predictions about adolescents’ future character and

behavior based on assessments made prior to maturation amount to little more than

speculation.” 1 There is an “absence of proof that assessments of adolescent behavior

will remain stable into adulthood [which] invites unreliable…sentencing based on

faulty appraisals of character and future conduct.” 2 Given James’ age and state of

brain development, and his mental illness, it would be speculation to assume that

he would make the same hateful decision in the future.

      For these reasons, James asks this Court for a sentence of less than life

imprisonment.




1 Declaration of Dr. Laurence Steinberg, Distinguished University Professor of
Psychology, Temple University, attached hereto as Exhibit B, at 7 [hereinafter Ex.
B].
2 Id at 24 (citing Brief for the American Psychological Association and the Missouri

Psychological Association as Amici Curiae Supporting Respondent, Roper v.
Simmons, 543 U.S. 551 (2005) (No. 03-633)).
                                          3

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     I.      James’ history and characteristics are marked by childhood
             trauma and mental illness and support a sentence of less than life.

          James’ family history is one of trauma, violence, and mental illness—

beginning before his birth, and exerting a powerful influence on his neurological,

psychological, and social development.

          A. James’ Mother’s Family.

          James’ mother is                       , who is   and has lived since        in

             Ohio, where she is employed as an

                 . 3 Before moving to Ohio, she lived in          Kentucky, a suburb

of                             parents both suffered from bipolar disorder, and the

father was hospitalized at least once due to his illness and treated with lithium.

             ’s parents divorced and she went to live with her mother in an apartment

in                 Kentucky. In               , several months after              and her

mother moved, the father came to the apartment building and got into a violent

argument with her mother. He shot and killed her mother, then himself, with a 12-

gauge shotgun outside the apartment.                             was inside at the

time.

          When               was   she was injured in an automobile accident and

suffered severe injuries that rendered her paraplegic. She requires the use of a

wheelchair for mobility. James is her only child. She has not been diagnosed with

or treated for any mental health problems.



3A letter from James’ mother has been provided to the Court by the probation
office.
                                             4

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      B. James’ Father’s Family

      James never met his father.                            was killed in a motor

vehicle crash near             Kentucky, in December 1996, five months before

James was born. He was                      who was known as          was a big man

and worked as a bouncer at a local bar. He had been diagnosed with bipolar

disorder, dyslexia, and alcoholism. His siblings,           and      were also

diagnosed with bipolar disorder.        was killed when he was a passenger in the

back seat of a car driven by                    . They had been drinking and the car

crashed into a utility pole. After the wreck,            and another passenger left

    for dead and walked back to the bar where they had been drinking.

was later charged with murder and pled to reckless homicide. James learned about

his father’s death as a young child.

      C. James’ Childhood and History of Mental Illness

      As a result of the events mentioned above, James was born into a single

parent family—and that parent was wheelchair-bound. He inherited a strong

history of bipolar disorder. He experienced the significant negative impact of

maternal stress and anxiety from his father’s death while he was in utero which

only increased his risk for mental illness. 4



4 See, e.g., Deborah Kim et al., Prenatal Programming of Mental Illness: Current
Understanding of Relationship and Mechanisms, 17 Current Psychiatry Reps., no.
2, Feb. 2015, at 1 (“[A]lthough somewhat inconsistent, there are compelling data
which suggest that exposures to severe stressors such as loss of a first-degree
relative or a spouse early in pregnancy or even immediately prior to conception
increase the risk of schizophrenia primarily in male offspring, which bereavement
stress during the third trimester is associated with an increased risk for
                                            5

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      As a young child James got along well with

children in his neighborhood and engaged in karate and

little league. But when James was in preschool, he also

began having over the top “tantrums” that were so

severe he was removed from the school. 5 He then

started having more difficulty sustaining attention at

school.

      At age 7, James’ behavior shifted and he showed significant aggressive

behaviors including a threat to kill his mother. His mother described a pattern

                                        where he would be aggressive for about 3

                                        days in a row, and then calm down for the

                                        next few days. He threw chairs at school,

                                        refused to get on a bus, or car, would run

                                        through parking lots, argue, scream, hit,

                                        and kick. It was then he was diagnosed




externalizing behaviors and ADHD.”); Adrianne Lange, Prenatal Maternal Stress
and the Developing Fetus and Infant: A Review of Animal Models as Related to
Human Research, 10 J. Infant, Child, & Adolescent Psychotherapy 326 (2011)
(prenatal stress influences psychological and physiological systems as well as
neuroanatomical structure).

5The following information is all summarized from the very detailed Forensic
Psychiatric Evaluation prepared by Dr. Bruce J. Cohen, Department of Psychiatry
and Neurobehavioral Sciences, University of Virginia Health System, which is
attached to this memorandum as Exhibit A. This summary is consistent with the
mental health history from paragraphs 249-256 of the presentence investigation
report.
                                         6

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with likely childhood bipolar disorder, prompting a referral and referred to the

Cincinnati Children’s Pediatric Bipolar Disorder program. There he was again

evaluated and provisionally diagnosed with bipolar disorder. The evaluating doctor

felt that his mood instability and aggression were so severe that even at age 7, he

should be medicated.

      After attempts at medicating his condition achieved varying degrees of

success, James was admitted to a psychiatric hospital when he was still just 7 years

                                               of age. With adjusted medication

                                               and support from his school, James

                                               started doing better with fewer

                                               behavioral episodes. Over the next

                                               several years, James was

                                               consistently monitored by the school

                                               and his doctors. His medications

were adjusted, he attended different after-care programs, and he would have

periods of success controlling his aggression, anxiety, and outbreaks. During this

time, James was diagnosed with ADHD. He continued to have significant

behavioral and social difficulties through fourth grade, but seemed to be doing

better by fifth grade.

      At age 10, James was admitted to a psychiatric hospital for a second time

after a significant aggressive incident where he hit a teacher, threw chairs, and

threatened harm. His doctors continued to try to get his medications and diagnoses


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correct over the next months, and he attended a different school program. James

returned to the regular classroom and struggled academically. Then in the winter

of his 7th grade year, he threatened a teacher and triggered a formal threat

assessment by the school. The school concluded that his bipolar disorder and

ADHD likely contributed to his behavioral problems, poor self-control, rapid change

in mood, and state of intense anger/frustration.

      The cycle of behavioral incidents, changes to medication, diagnoses, and

interventions continued through his middle school years. There also began to be

signs that James had odd beliefs about history and the world, and that he enjoyed

provoking reactions from people by making racist comments. By eighth grade,

teachers had noted overall improvement, but he was admitted for his third and final

psychiatric inpatient admission that year at age 13. He started public high school

in the fall of 2011, and received juvenile charges that year concerning violent and

threatening behavior with his mother. For ten months he was placed at a group

home where he performed okay academically, but continued to struggle with

impulsive aggression.

      In September 2012, James returned to high

school as a sophomore and, finally, he was doing

well. Regular psychiatric treatment and medication

was key—his mood was more stable. The mix of

medications and treatment were finally working.

His behavior improved with no more suspensions.


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He had a small number of friends, and did normal high school things like go to

dances. Mostly, however, he played video games and interacted with people on

social media.

                                   James made plans to join the Fishburne Military

                                   Academy in Virginia during his 11th grade year.

                                   He was accepted, and his mom was driving him

                                   to his new school when they received a call

                                   saying that his acceptance was revoked due to

                                   the program receiving copies of his medical

                                   records which showed he was taking psychiatric

                                   medications. James was crushed. His grades

                                   declined, but he did not have any more

                                   behavioral issues in high school.

      James desperately wanted to join the Army after graduation. The rejection

from military school due to his psychiatric medications made him worry that he

would not be able to join the Army if he was medicated, so James told his doctor

that he would no longer take the medications. He remained generally stable

through the rest of high school and graduated.

      James did enlist after graduation from high school in May 2015, but

separated from the Army soon thereafter. His Army records show a “lack of

motivation and failure to train.” The physical training aspect was very difficult for




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him and he wrote at the time that “I feel this isn’t how I want to spend my life. So

I’m going to college.”

        After leaving the Army, he initially moved in with his mother, and worked as

a security guard, and then at Starbucks. He then went back to work as a security

guard and was placed with a company

where he only worked the third shift and

had less interaction with other people. He

then moved into his own apartment with his

cat around April of 2017. James and his

mother lived only about 5 minutes apart,

and he frequently went by her apartment to

do his laundry and help her with groceries, taking out the garbage, and picking up

her mail. His mom was the only person he had regular contact with aside from

friends online that he played video games with. He applied to Owens Community

College and was accepted. His orientation was supposed to start on August 16,

2017.

        Like many, James spent a lot of time online throughout adolescence and

emerging adulthood. He started using Twitter in search of a community. He

quickly learned that provocative and hateful comments led to more exposure and

engagement and took joy in that. He felt more and more popular as he played to an

increasingly radicalized crowd. He followed Richard Spencer, Michael Peinovich,

and Identity Evropa on Twitter, had an abiding interest in racialized ideology, and


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heard about the August 12 Unite the Right rally through its organizers’ online

recruiting campaign. Having some familiarity with some of the rally’s speakers, he

formed his intention to attend, and found out that he would be able to take off of

work only two days before the rally.

    II.      James’ age at the time of the offense (20) requires a sentence of
             less than life.

          It would be unconstitutionally cruel and unusual to sentence anyone who was

20 at the time of the offense to life imprisonment without the possibility of parole.

In lieu of agreeing that such a sentence would be unconstitutional, this Court

should consider James’ age as a mitigating factor under the guidelines and sentence

him to less than life imprisonment for that reason.

          A. A sentence of life imprisonment would violate the Eighth Amendment

          The Supreme Court has made it clear that juveniles are different. The

Eighth Amendment limits the sentences that can be imposed on children. 6 This is

because youth are understood to have reduced culpability but also greater capacity

for reform. This understanding has derived from psychology and brain science

showing “fundamental differences between juvenile and adult minds.” 7



6 Roper v. Simmons, 543 U.S. 551 (2005) (prohibiting execution of children under 18
at time of offense); Graham v. Florida, 560 U.S. 48, 74-75 (2010) (children convicted
of non-homicide offenses cannot be sentenced to life without parole and must have
“realistic” and “meaningful opportunity to obtain release based on demonstrated
maturity and rehabilitation”); Montgomery v. Louisiana, 577 U.S. _, 136 S. Ct. 718,
733 (2016) (extending Graham to even homicide cases except in the rarest of cases
where the sentence determines the particular child “exhibits such irretrievable
depravity that rehabilitation is impossible”); Miller v. Alabama, 567 U.S. 460, 473
(2012) (same).
7 Graham, 560 U.S. at 68.

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Contemporary neuroscience and “evolving standards of decency” compel the same

conclusion for a 20-year-old. Adolescence, and the well-understood immaturity,

irresponsibility, impetuousness, and recklessness that accompany it, do not end at

age 18. Contemporary neuroscience proves that the constitutionally distinct status

of juveniles must extend to at least the age of 21. As a result, it would be

unconstitutionally cruel and unusual to sentence someone who was 20 at the time of

an offense to a sentence of life imprisonment for the reasons set forth below.

             1. Roper, Graham, and Miller clearly relied on then up-to-date
                neuroscience to determine that adolescents are “constitutionally
                different” from adults for sentencing purposes

      Beginning with Roper in 2005, the Supreme Court has repeatedly held that

the Eighth Amendment’s prohibition against cruel and unusual punishment

prohibit treating offenders who commit murder when under 18 as adults for

sentencing. 8 This is based on the Eighth Amendment’s “proportionality”

requirement which prohibits certain punishments from being imposed on categories

of individuals with diminished culpability. 9 These punishments are deemed

disproportionate “based on mismatches between the culpability of a class of




8 543 U.S. at 551; see also Graham, 560 U.S. at 48; Miller, 567 U.S. at 470.
9 See, e.g., Graham, 560 U.S. at 48; Kennedy v. Louisiana, 554 U.S. 407 (2008)
(capital punishment for non-homicide offense unconstitutional); Roper, 543 U.S. at
551; Atkins v. Virginia, 536 U.S. 304 (2002) (capital punishment unconstitutional
for the intellectually disabled); Enmund v. Florida, 458 U.S. 782 (1982) (capital
punishment unconstitutional for offenders who did not kill, attempt to kill, or
intend to kill).
                                          12

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offenders and the severity of a penalty.” 10 These cases all hold that “children are

constitutionally different from adults for sentencing purposes.” 11

      The constitutionally distinct status of juveniles is premised on the

constitutional finding that juvenile offenders “have diminished culpability and

greater prospects for reform” than adults. Id. “Youth is more than a chronological

fact.” 12 Adolescence is a “transient” period of “immaturity, irresponsibility,

‘impetuousness, and recklessness.’” 13

      Miller holds that the “distinctive attributes of youth” are not “crime-specific,”

but apply even to adolescents who “commit terrible crimes,” and identifies “three

significant gaps between juveniles and adults:”

      •   Adolescents’ “lack of maturity” and “underdeveloped sense of
          responsibility” engender “recklessness, impulsivity, and heedless risk-
          taking.”
      •   Adolescents are more susceptible to negative environmental influences
          and pressures, “including from their family and peers,” in part because
          adolescents “have limited control over their own environment and lack the
          ability to extricate themselves from horrific, crime-producing settings.”
      •   Adolescents are more likely to change: “a child’s character is not as well-
          formed as an adult’s, his traits are less fixed and his actions are less likely
          to be evidence of irretrievable depravity.” 14

Roper, Graham, and Miller all relied heavily on then-available advances in

neuroscience which documented the highly significant neurobiological differences

between adolescent and adult brains. “Our decisions rested not only on common



10 Miller, 567 U.S. at 470.
11 Id.
12 Id. at 476 quoting Eddings v. Oklahoma, 455 U.S. 104, 115 (1982).
13 Id. quoting Johnson v. Texas, 509 U.S. 350, 368 (1993).
14 Id. at 471.

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sense—on what ‘any parent knows’—but on science and social science as well.” 15 As

detailed below, current developments in neuroscience, many of which were not

available when Roper, Graham, and Miller were decided, conclusively demonstrate

that the same neurobiological “transient qualities of youth” last beyond the age of

17. The adolescent brain does not magically mature on its eighteenth birthday.

This fact is significant because the adolescent brain is so different from the adult

brain.

               2. Neuroscience demonstrates that adolescents are different because
                  of their distinct developmental phase characterized by heightened
                  proclivity to risk taking, impulsivity, and a diminished capacity for
                  self-regulation

         Research pioneered by Dr. Laurence Steinberg, Distinguished University

Professor of Psychology, Temple University, demonstrates that the human brain

undergoes a “massive reorganization” during the teenage years. These changes are

both structural and functional and make adolescence a stage of life biologically

distinct from childhood and adulthood. 16 Although the brain’s logical capabilities

are generally fully formed at 16, the systems controlling more complex judgments—

such as risk/reward evaluations, responses to environmental stressors, and impulse

control—do not completely develop until the mid-twenties. 17



15 Miller, 567 U.S. at 471.
16 Laurence Steinberg, A Behavioral Scientist Looks at the Science of Adolescent
Brain Development, 72 Brain & Cognition 160, 160 (2010) [hereinafter Steinberg,
Behavioral Scientist]; see Laurence Steinberg, Adolescent Development and Juvenile
Justice, 5 Ann. Rev. Clinical Psychol. 459, 465 (2009) [hereinafter Steinberg,
Adolescent Development].
17 See, e.g., Nat’l Research Council, Comm. on Assessing Juvenile Justice Reform,

Reforming Juvenile Justice: A Developmental Approach 132 (Richard J. Bonnie et
                                           14

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      As the adolescent brain matures, it undergoes a temporary developmental

imbalance between two neurobiological systems: the limbic system, associated with

emotions and reward-seeking, and the prefrontal regulatory system, which governs

rational judgment and impulse control. 18 During early and middle adolescence, the

limbic system experiences a “rapid and dramatic increase in dopaminergic activity,”

causing a marked increase in reward seeking, sensation seeking, and accompanying

risky behavior. 19 The reward centers of the adolescent brain are more active than

those of adults, leading to an overestimation of rewards versus risks. 20

      At the same time, “compelling neurobiological evidence” demonstrates that

the brain’s regulatory system undergoes a more gradual, linear maturation over the

course of adolescence. 21 This means that adolescents have a qualitatively higher

neurological inclination to engage in risky activity, while at the same time they

have a qualitatively lower ability to control impulses or accurately assess future

consequences. “Adolescents develop an accelerator a long time before they can steer




al. eds., 2013); Elizabeth Cauffman & Laurence Steinberg, (Im)maturity of
Judgment in Adolescents: Why Adolescents May Be Less Culpable Than Adults, 18
Behav. Sci. & L. 741, 744 (2000).
18 See, e.g., Nat’l Research Council, supra, at 2; Steinberg, Adolescent Development,

supra, at 466-65; Alison Gopnik, What’s Wrong With the Teenage Mind, Wall St. J.,
Jan. 28, 2012.
19 Steinberg, Adolescent Development, supra, at 466; see Nat’l Research Council,

supra, at 97-98; Gopnik, supra.
20 See, e.g., Gopnik, supra; David Dobbs, Beautiful Brains, Nat’l Geographic Mag.,

Oct. 2011.
21 Steinberg, Adolescent Development, supra, at 466; see, e.g., Nat’l Research

Council, supra, at 92, 96-99; Laurence Steinberg, A Social Neuroscience Perspective
on Adolescent Risk-Taking, 28 Dev. Rev. 78, 83 (2008) [hereinafter Steinberg, Risk-
Taking].
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and brake.” 22 The ability to regulate and assess increases gradually as adolescents

age. 23

          Studies further show that emotionally-charged situations exacerbate this

discrepancy, leaving teenagers—especially young men—even less able to exercise

the regulatory functions of the brain in the very contexts when those moderating

functions are most needed. While young men may be good at “cold reasoning,” their

ability to reason at times of stress and excitement—“hot reasoning”—remains

undeveloped and immature. 24

          Ultimately, this developmental imbalance explains why “adolescence is a

time of inherently immature judgment.” 25 Although teenagers might seem as



22 Gopnik, supra.
23 See, e.g., Laurence Steinberg, A Dual Systems Model of Adolescent Risk-Taking,
52 Developmental Psychobiology 216 (2010); Charles Geier & Beatriz Luna, The
Maturation of Incentive Processing and Cognitive Control, 93 Pharmacology,
Biochemistry, & Behav. 212, 215-18 (2009).
24 See, e.g., Nat’l Research Council, supra, at 92-93; Bernard Figner et al., Affective

and Deliberative Processes in Risky Choice, 35 J. Experimental Psychol. 709, 709
(2009). Anatomically, these changes can be explained as follows. The brain
experiences a loss of “gray matter”—the shedding of excess, unused synaptic
connections—and a gradual increase in “white-matter,” a coating of myelin which
speeds neural-transmission. See, e.g., M.R. Asato et al., White Matter Development
in Adolescence: A DTI Study, 20 Cerebral Cortex 2122 (2010); Dobbs, supra; Geier &
Luna, Cognitive Control, supra, at 215-16 ; Steinberg, Adolescent Development,
supra, at 466. Together, the reduction in gray matter and the increase in white
matter improves the efficiency and connectivity of neural signaling in the prefrontal
cortex and among multiple regions of the brain. See, e.g., Nat’l Research Council,
supra, at 99; Geier & Luna, supra, at 215-16; Steinberg, Risk-Taking, supra, at 93-
95. These functional changes are associated with improved “response inhibition,
planning ahead, weighing risks and rewards, and the simultaneous consideration of
multiple sources of information.” Steinberg, Risk-Taking, supra, at 94; see, e.g.,
Nat’l Research Council, supra, at 99; Asato et al., supra, at 2123; Geier & Luna,
supra, at 215
25 Steinberg, Adolescent Development, supra, at 467.

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intelligent as adults, “their ability to regulate their behavior in accord with these

advanced intellectual abilities is more limited.” 26 Adolescents overvalue immediate

rewards and are less future-oriented compared to adults; they are more impulsive,

more susceptible to emotion and stress, and less likely to perceive the consequences

of their actions, especially negative ones. 27

       In summary, adolescents and people in their early 20s are:

       •   More likely than adults to underestimate the number, seriousness, and
           likelihood of risks involved in a given situation;
       •   Prone to engage in what psychologists call “sensation-seeking”—the
           pursuit of arousing, rewarding, exciting or novel experiences;
       •   Less able to control their impulses and consider the future consequences
           of their actions and decisions;
       •   More socially and emotionally immature than their intellectual maturity
           would suggest.

These are the fundamental reasons that youth is different, and the Supreme Court

has agreed.

              3. Advances in neuroscience render any hardline distinction between
                 17-year-olds and 20-year-olds irrational and invalid

       The Supreme Court’s conclusions in Miller, Graham, and Roper were largely

informed by the work of Dr. Laurence Steinberg discussed above. Dr. Steinberg was

the lead scientist for the American Psychological Association (“APA”) in drafting the

APA’s amicus briefs in Roper, Graham, and Miller. He was responsible for assuring

that the briefs accurately reflected the science of adolescent development as it was




 Id.
26

 Id. at 468-70; Human Rights Watch & Amnesty Int’l, The Rest of Their Lives: Life
27

Without Parole for Child Offenders in the United States 46 (2005).
                                            17

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understood at the time. 28 However, Dr. Steinberg has explained that research has

advanced considerably in recent years and that “knowing what we know now, one

could’ve made the very same arguments about 18-, 19- and 20-year-olds that were

made about 16- and 17-year olds in Roper.” 29

      Dr. Steinberg has prepared a declaration in this case, attached hereto as

Exhibit B. In this declaration he states that “[f]urther study of brain maturation

conducted during the past decade has revealed that several aspects of brain

development affecting judgment and decision-making are not only ongoing during

early and middle adolescence, but continue at least until age 21.” 30 Further, [a]s

more research confirming this conclusion accumulated, by 2015 the notion that

brain maturation continues into late adolescence became widely accepted among

neuroscientists.” 31 One reason researchers have learned so much more is the



28 Testimony of Laurence Steinberg, Cruz v. United States, No. 11-CV-787 (JCH),
2017 WL 3638176, (D. Conn. September 13, 2017).
29 Commonwealth v. Bredhold, Order Declaring Kentucky’s Death Penalty Statute

as Unconstitutional, No. 14-CR-161 (Fayette [Ky.] Cir. Ct. Aug. 1, 2017),
(summarizing Dr. Steinberg’s testimony in that case).
30 Ex. B at 5.
31 Id. at 6, citing N. Dosenbach, et al., Prediction of Individual Brain Maturity

Using fMRI, 329 Science 1358 (2011); D. Fair, et al., Functional Brain Networks
Develop from a “Local to Distributed” Organization, 5 PLoS Computational Biology
1 (2009); AM Hedman et al., Human Brain Changes Across the Life Span: A Review
of 56 Longtitudinal Magnetic Resonance Imaging Studies, 33 Human Brain
Mapping 1987 (2012); A. Pfefferbaum et al., Variation in Longitudinal Trajectories
of Regional Brain Volumes of Healthy Men and Women (Ages 10 to 85 Years)
Measured with Atlas-Based Parcellation of MRI, 65 NeuroImage 176 (2013); D.
Simmonds, et al., Developmental Stages and Sex Differences of White Matter and
Behavioral Development Through Adolescence: A Longitudinal Diffusion Tensor
Imaging (DTI) Study, 92 NeuroImage 356 (2014); L. Somerville et al., A Time of
Change: Behavioral and Neural Correlates of Adolescent Sensitivity to Appetitive
and Aversive Environmental Cues 72 Brain & Cognition 124 (2010); C. Tamnes et
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advent of functional Magnetic Resonance Imaging (fMRI) which permits

observation of the brains of living individuals. “The results of this examination

demonstrated that key brain systems and structures, especially those involved in

self-regulation and higher-order cognition, continue to mature throughout

adolescence until at least the age of 21 and likely beyond in some areas of

function.” 32 Dr. Steinberg explains that the “contemporary view of brain

development as ongoing at least until age 21 stands in marked contrast to the view

held by scientists as recently as 15 years ago.” 33

      We now know that, in many respects, individuals between 18 and 21 are
      more neurobiologically similar to younger teenagers than had previously
      been thought; their character has not yet been fully formed (as those brain
      regions most determinant of character are the last to mature), they remain
      amendable to change, and they are able to profit from rehabilitation. 34

      As a result, courts have begun extending the Eighth Amendment protections

of Roper, Graham, Miller, and Montgomery to young adults. For example, a trial

court in Kentucky declared the death penalty unconstitutional for offenders under

21. 35 The court reasoned that “given the national trend toward restricting the use

of the death penalty for young offenders, and given the recent studies by the



al., . Development of the Cerebral Cortex Across Adolescence: A Multisample Study of
Inter-related Longitudinal Changes in Cortical Volume, Surface Area, and
Thickness, 37 J. Neuroscience 3402 (2017); K. Whitaker et al., Adolescence Is
Associated with Genomically Patterned Consolidation of the Hubs of the Human
Brain Connectome, 113 PNAS 9105 (2016).
32 Id. at 5.
33 Id. at 6-7.
34 Id. at 7.
35 See Commonwealth v. Bredhold, No. 14-CR-161, Order Declaring Kentucky’s

Death Penalty Statute as Unconstitutional (Fayette [Ky.] Cir. Ct. Aug. 1, 2017)
(Scorsone, J.).
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scientific community, the death penalty would be an unconstitutionally

disproportionate punishment for crimes committed by individuals under twenty-one

(21) years of age [at the time of the offense].” 36 A New Jersey appellate court

similarly relied on Miller to support its decision to remand for resentencing a 75-

year aggregate sentence imposed for murder committed by a 21-year-old defendant,

reasoning that where the sentence is the practical equivalent of life without parole,

courts must “consider at sentencing a youthful offender’s failure to appreciate risks

and consequences as well as other factors often peculiar to young offenders.” 37

      The American Bar Association has relied upon this change in neuroscience as

the reason for its Resolution 111, which “urges each jurisdiction that imposes

capital punishment to prohibit the imposition of a death sentence on or execution of

any individual who was 21 years or younger at the time of the offense.” 38 The

resolution explains its rationale as based on “findings [that] demonstrate that 18 to

21 year olds have a diminished capacity to understand the consequences of their



36 Id. (relying heavily on brain science-related testimony to conclude that the death
penalty is a disproportionate punishment for offenders younger than 21 because
such individuals are categorically less culpable and have a better chance at
rehabilitation); see also Commonwealth v. Diaz, No. 15-CR-584-001, Order
Declaring Kentucky’s Death Penalty Statute as Unconstitutional (Fayette [Ky.] Cir.
Ct. Sept. 6, 2017) (Scorsone, J.).
37 State v. Norris, No. A-3008-15T4, 2017 WL 2062145, at *5 (N.J. Super. Ct. App.

Div. May 15, 2017); see also Cruz v. United States, No. 11-CV-787 (JCH), 2017 WL
3638176 (D. Conn. April 3, 2017) (granting defendant’s motion for a hearing on a §
2255 motion, concluding that he raised an issue of material fact as to whether a
youth of 18 years and 20 weeks is legally and developmentally a child such that his
mandatory life-without-parole sentence violates the Eighth Amendment).
38 American Bar Association Resolution 111, available at

https://www.americanbar.org/content/dam/aba/images/abanews/mym2018res/111.pd
f [hereinafter ABA Resolution].
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actions and control their behavior in ways similar to youth under 18.” 39

“Additionally, research suggests that late adolescents, like juveniles, are more

prone to risk-taking and that they act more impulsively than older adults in ways

that likely influence their criminal conduct.” 40 Nor are “18 to 21 year olds…fully

mature enough to anticipate future consequences.” 41 Furthermore, “profound

neurodevelopmental growth continues even into a person’s mid to late twenties.” 42

The resolution cited to a study sponsored by the National Institute of Mental Health

which tracked the brain development of 5,000 children and discovered their brains

were not fully mature until at least 25 years of age. 43

             4. Evolving standards of decency strongly suggest Miller relief should
                be extended to the age of 21

      Community standards of decency are relevant to an Eighth Amendment

analysis. When Roper banned the death penalty for those under 18, it cited not only

neuroscience, but a “national consensus” that offenders under 18 should not be




39 Id. (citing Jeffrey Arnett, Reckless Behavior in Adolescence: A Developmental
Perspective, 12 Developmental Rev. 339, 343 (1992); Kathryn L. Modecki,
Addressing Gaps in the Maturity of Judgment Literature: Age Differences and
Delinquency, 32 L. & Hum. Behav. 78, 79 (2008) (“In general, the age curve shows
crime rates escalating rapidly between ages 14 and 15, topping out between ages 16
and 20, and promptly deescalating.”)).
40 Id. (citing Elizabeth S. Scott et al., Young Adulthood as a Transitional Legal

Category: Science, Social Change, and Justice Policy, 85 Fordham L. Rev. 641, 644
(2016)).
41 Id. (citing Laurence Steinberg et al., Age Differences in Future Orientation and

Delay Discounting, 80 Child Dev. 28, 35 (2009)).
42 Id. (citing Christian Beaulieu & Catherine Lebel, Longitudinal Development of

Human Brain Wiring Continues from Childhood into Adulthood, 27 J. Neuroscience
31 (2011); Pfefferbaum et al., supra note 9).
43 Id. (citing Dosenbach et al., supra note 9).

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treated as full adults. Roper recognized that the national consensus had changed

since 1988 when the Court declared, in Thompson v. Oklahoma, 487 U.S. 815

(1988), that the death penalty was unconstitutional only for those under 16.

         The national consensus now recognizes that youth does not end at 18. The

United States Sentencing Commission, for example, issued a report in 2017,

Youthful Offenders in the Federal System, Fiscal Years 2010 to 2015 (“The Youthful

Offenders Report”) that affirms this view. The Commission, based on “recent case

law and neuroscience research,” redefined “youthful offender” to include offenders

“25 years old and younger.”

         Traditionally, youthful offenders often have been defined as those under the
         age of 18, but for purposes of this study, the Commission has defined youthful
         offenders as a federal offender 25 years old or younger at the time of
         sentencing. The inclusion of young adults in the definition of youthful
         offenders is informed by recent case law and neuroscience research in which
         there is a growing recognition that people may not gain full reasoning skills
         and abilities until they reach age 25 on average. 44

         Multiple federal statutes now recognize that 20 year olds lack the full

maturity of adulthood. The Foster Care Act of 2008, permits states to define “child”

as “an individual . . . who has not attained 19, 20 or 21 years of age.” The Gun

Control Act of 1968 prohibits individuals under age 21 from purchasing handguns.

18 U.S.C. §§ 922(b)(1), (c)(1). The National Minimum Drinking Age Act of 1984

prohibits those under 21 from purchasing alcohol. 23 U.S.C. §158.

         State legislatures have responded to the advances in neuroscience by

affording greater protections to youthful offenders who have passed their 18th



44   The Youthful Offenders Report, at *5.
                                             22

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birthday. “[A]s of 2016, all fifty states and the District of Columbia recognized

extended age jurisdiction for juvenile courts beyond the age of 18, in comparison to

only 35 states in 2003.” Cruz, 2017 WL 3638176, at *56. “Between 2016 and 2018, 5

states and 285 localities raised the age to buy cigarettes from 18 to 21.” Id. The

majority of states now set 21 as the line at which children age out of foster care. 45

Other states that do not establish the line at 21, nevertheless set it above 18. 46

Vermont sets it at age 22. 47

      There are a plethora of nationwide initiatives designed to protect late

adolescents who have passed their 18th birthday. “Young Adult Courts” have been

created in San Francisco, CA (begun 2015 for age 18-25); Omaha, NE (up to age 25);



45 Alabama, Ala. Code § 38-7-2(1); Alaska, Alaska Stat, § 47.10.080(c); Arizona,
Ariz. Rev.Stat. Ann. § 8-501(B); California, Cal. Welf. & Inst. Code § 303(a);
Colorado, Colo. Rev.Stat. § 19-3-205(2)(a); Connecticut, Conn. Gen. Stat. Ann. § 17a-
93(a); Delaware, Del. Code Ann. tit. 10, § 929(a); Washington, D.C., D.C. Code Ann.
§ 16-2303; Florida, Fla. Stat. Ann. § 39.013(2); Georgia, Ga. Code Ann. § 15-11-
2(10)(c); Idaho, Idaho Code Ann. §§39-1202(3) & (9); Illinois, Ill. Comp. Stat. Ann. §
405/2-31(1); Indiana, Ind. Code Ann. §31-28-5.8-5(a); Kansas, Kan. Stat. Ann. § 38-
2203(c); Kentucky, Ky. Rev. Stat. § 620.140(1)(d)-(e); Maryland, Md. Code Ann., Cts.
& Jud. Proc. § 3-804(b); Michigan, Mich. Comp. Laws Ann. § 772.981-85; Minnesota,
Minn. Stat. Ann. § 260C.451; Mo. Ann. Stat. §110.04 (12); Nebraska, Neb. Rev. Stat.
Ann. §§ 43-905 & 43-4502; Nevada, Nev. Rev. Stat. Ann. § 432B.594; New
Hampshire, N.H. Rev. Stat. Ann. § 169-C:4; New Jersey, N.J. Stat. Ann. § 30:4C-
2.3; New York, N.Y. Fam. Ct. Act § 1087(a); Ohio, Ohio Rev. Code Ann. §2151.81;
Oregon, Or. Rev. Stat. Ann. § 419B.328; Pennsylvania, 42 Pa. Const. Stat. Ann.
§6302; South Dakota, S.D. Codified Laws § 26-6-6.1; Tennessee, Tenn. Code Ann.
§§37-1-102(4)(G) & 37-2-417(b); Texas, Tex. Fam. Code Ann. § 263.602; Virginia, Va.
Code Ann. § 63.2-905.1; Washington, Wash. Rev. Code Ann. § 74.13.031(16); West
Virginia, W. Va. Code Ann. § 49-2B-2(x); and Wyoming, Wyo. Stat. Ann. § 14-3-
431(b).
46 Maine, (age twenty), Maine Rev. Stat. tit. 22, §§ 4037-A(1) & (5); New Mexico,

(age nineteen), N.M. Stat. Ann. § 32A-4-25.3; Wisconsin, (age nineteen), Wis. Stat.
Ann. §48.355(4).
47 Vt. Stat. Ann. tit. 33, § 4904 (age twenty-two).

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Kalamazoo County, MI (begun in 2013 for age 17-20); Lockport City, NY; and New

York, NY (begun 2016 for age 18-20). The Youthful Offender Report details

probation/parole programs, programs led by prosecutors, community-based

programs, hybrid programs, and prison programs all reflecting the national,

nonpartisan recognition that late adolescents should not be subject to the full brunt

of adult criminal penalties. Id. at *25-29, 30-40.

      Finally, the ABA Resolution mentioned above cites additional evidence that

community standards have evolved, including some of the examples presented

above. 48 In addition, the resolution notes that many rental car companies set

minimum rental ages at 20 or 21, with higher rental fees for individuals under age

25. 49 Under the Free Application for Federal Student Aid (FAFSA), the Federal

Government considered individuals under the age of 23 legal dependents of their

parents. 50 Relatedly, the Internal Revenue Service allows students under 24 to be




48 ABA Resolution, supra note 12 at 7-9.
49 ABA Resolution, supra note 12, (citing What are Your Age Requirements for
Renting in the US and Canada, Enterprise.com,
https://www.enterprise.com/en/help/faqs/car-rental-under-25.html (last visited June
18, 2019); Restrictions and Surcharges for Renters Under 25 Years of Age,
Budget.com, https://www.budget.com/budgetWeb/html/en/common/agePopUp.html
(last visited June 18, 2019); Under 25 Car Rental, Hertz.com,
https://www.hertz.com/rentacar/misc/index.jsp?targetPage=Hertz_Renting_to_Drive
rs_Under_25.jsp (last visited June 18, 2019)).
50 ABA Resolution supra note 12, (citing Dependency Status, Federal Student Aid,

https://studentaid.ed.gov/sa/fafsa/fillingout/dependency (last visited Sept. 21, 2017).
59 (last visited June 18, 2019)).
                                          24

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dependents for tax purposes and the Affordable Care Act allowed individuals under

26 to remain on their parents’ health insurance. 51

             5. The result is that it would violate the Eighth Amendment to
                sentence someone who was 20 at the time of the offense to life
                without the possibility of parole.

      In conclusion, based on both current neuroscience and contemporary

understandings, this Court should not sentence James, or any other offender who

was 20 years of age at the time of the offense, to a sentence of life or it would be

unconstitutionally cruel and unusual in violation of the Eighth Amendment.

      B. A life sentence would not take seriously the mitigating qualities of youth
         combined with James’ history for mental illness.

      All of the arguments above equally support a sentence to less than life in this

specific case based on the role that youth had in the offense, separate and apart

from any Eighth Amendment analysis. Sentencing guideline § 5H1.1 specifically

provides that youth “may be relevant in determining whether a departure is

warranted, if considerations based on age, either individually or in combination

with other offender characteristics, are present to an unusual degree and

distinguish the case from the typical cases covered by the guidelines.” In addition,

the guidelines specifically provide that mental conditions “may be relevant in

determining whether a departure is warranted, if such conditions, individually or in




51 ABA Resolution (citing 26 U.S.C. § 152 (2008); 42 U.S.C. § 300gg-14 (2017);
Dependents and Exemptions 7, I.R.S, https://www.irs.gov/faqs/filing-requirements-
statusdependents-exemptions/dependents-exemptions/dependents-exemptions-7
(last visited June 18, 2019)).
                                           25

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combination with other offender characteristics, are present to an unusual degree

and distinguish the case from the typical case covered by the guidelines.” 52

      The following summary is excerpted from Dr. Cohen’s assessment of James:

      The above detailed review of Mr. Fields records indicates longstanding,
      severe difficulties with loss of emotional and behavioral control when in
      situations where he has felt stressed by having been challenged, threatened,
      or singled out. The primary goal of all of the pharmacologic,
      psychotherapeutic, and educational interventions that he has received since
      early childhood has been to help him to achieve greater self-control when he
      finds himself in such situations. He also has demonstrated some
      longstanding cognitive distortions when in such situations, including a
      tendency to externalize the nature of his difficulties, becoming angry and
      aggressive toward the people around him, whom he has seen as threatening
      him in some way. 53

Dr. Cohen reported that if James presented the same childhood symptoms today as

he did when he was 7 years of age in 2004, the current Diagnostic and Statistical

Manual of Mental Disorders would have led to a diagnosis of disruptive mood

dysregulation disorder (DMDD). DMDD is characterized by the presence of very

unstable moods “chronic, daily irritability along with superimposed acute, severe

tantrums or anger outburst with minimal provocation.” 54 Dr. Cohen noted that in

one study, when presented with a series of ambiguous facial expressions,

individuals with DMDD were “more likely to see anger in the faces than were

control subjects, suggesting that they are prone to experience more ‘hostile bias

attribution’ (i.e., a greater tendency to see a threat) than do other individuals.” 55




52 U.S.S.G. § 5H1.3.
53 Ex. A at 31.
54 Id.
55 Id. at 32.

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         The combination of James’ age and mental conditions would warrant a

sentence of less than life on their own. But this Court must also consider the effect

of the childhood trauma that James experienced, growing up with a single parent

who was in a wheelchair, the knowledge that his father was killed in an accident

before he was born, and that his grandfather had murdered his grandmother. “[I]t

is clear that adverse childhood experiences have a profound, proportionate, and

long-lasting effect on emotional state, whether measured by depression or suicide

attempts, by protective unconscious devices like somatization and dissociation, or by

self-help attempts that are misguidedly addressed solely as long-term health

risks.” 56 Childhood trauma is strongly linked to mental and physical health

problems over the lifespan. “It negatively impacts brain development, cognitive

development, learning, social-emotional development, the ability to develop secure

attachments to others, and physical health; it is also associated with a shortened

lifespan . . . A considerable body of research demonstrates that children suffer the

most severe, long-lasting, and harmful effects when trauma exposure begins early

in life . . . .” 57




56 Vincent J. Felitti & Robert F. Anda, The Relationship of Adverse Childhood
Experiences to Adult Medical Disease, Psychiatric Disorders, and Sexual Behavior:
Implications for Healthcare 7, in The Hidden Epidemic: The Impact of Early Life
Trauma (R. Lanius & E. Vermetten, eds., 2009),
http://www.acestudy.org/yahoo_site_admin/assets/docs/LaniusVermetten_FINAL_8
26-09.12892303.pdf.
57 Jessica Dym Bartlett & Kathryn Steber, How to Implement Trauma-Informed

Care to Build Resilience to Childhood Trauma, Child Trends,
https://www.childtrends.org/publications/how-to-implementtrauma-informed-care-
to-build-resilience-to-childhood-trauma (last visited June 18, 2019).
                                          27

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      Critically, there is reason for hope. The reason adolescent behavior must be

judged differently is because “predictions about adolescents’ future character and

behavior based on assessments made prior to maturation amount to little more than

speculation.” 58 There is an “absence of proof that assessments of adolescent

behavior will remain stable into adulthood [which] invites unreliable…sentencing

based on faulty appraisals of character and future conduct.” 59 In other words, given

James’ age and state of brain development, it would be speculation to assume that

he would make the same decision in the future.

      Further, James’ past history suggests that when he is medicated, he is able to

control his moods and anger. The medications he has been taking while

incarcerated since August 12, 2017 have successfully controlled his symptoms,

although also giving him a flat affect. Therefore, if this court agrees that a sentence

less than life is appropriate, a condition of supervised release requiring James to

participate in mental health treatment and comply with the recommendations of his

treatment providers should help assure the Court that James would not commit

another offense in the future.




58Ex. B at 5.
59Id. (citing Brief for the American Psychological Association and the Missouri
Psychological Association as Amici Curiae Supporting Respondent, supra note 2, at
24).
                                          28

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     III.   The nature and circumstances of the offense reflect the
            immaturity, irresponsibility, and impetuousness of James’
            adolescence combined with his mental health diagnoses. 60

        By the time James drove his car into the crowd on the afternoon of August

12th, he had been sleep-deprived, dehydrated by the hot weather, fatigued by

walking, yelled at by counter-protesters, and had urine thrown on him. He was a

person ill-equipped to handle such a situation. He had never before been in an

uncontrolled crowd situation, and did not have the emotional tools or maturity to

react to what confronted him, nor had he been taking medication for his underlying

mental health conditions.

        Taking a step back, James was not the organizer of the Unite the Right rally

held on August 12, 2017. He was not part of any group that planned to attend.

While James had absolutely previously posted racist and pro-Hitler comments and

photographs to social media accounts, he was never a member of any alt-right or

white supremacist organizations. He came alone, with no plan other than to hear

some speakers that he followed on Twitter.




60The following information is intended to supplement the summary of the offense
conduct contained in paragraphs 4-15, with particular focus on the events that
occurred immediately before Fields drove his car into the crowd on Fourth Street,
S.E., at approximately 1:53 p.m. on August 12, 2017. Much of the information
referenced is found in the “Heaphy Report,” Independent Review of the 2017 Protest
Events in Charlottesville, Virginia. https://www.policefoundation.org/wp-
content/uploads/2017/12/Charlottesville-Critical-Incident-Review-2017.pdf. Also,
much of it was introduced at Fields’ trial in Charlottesville Circuit Court in
November 2018.

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        Before the Unite the Right rally, he had never attended a political event of

any kind—or really any event involving a large crowd. After finding out on

Thursday that he could take off work that weekend, he left his apartment in Ohio

on Friday evening, and drove straight through the night. After arriving in

Charlottesville around 2:00 A.M, he parked at the McDonald’s and napped and

played video games. At some point on Saturday morning he drove to the Waffle

House and ate breakfast. He then returned to the McDonald’s parking lot at the

corner of Preston Avenue and Ridge-McIntire Street. Although the rally was not

supposed to start until noon, James saw that people were walking toward the rally

site and followed suit. He was wearing a white polo shirt and khakis, the unofficial

attire of the alt-right protestors.

       James was in Emancipation Park 61 with the alt-right protestors when the

police declared an unlawful assembly and dispersed the crowd. Forcing the alt-

right protesters out of the park exacerbated the violence as they were pushed into

confrontation with the Antifa counter-protesters. After a morning of yelling, fights,

tear gas, and fear, the alt-right protesters and the counter-protesters dispersed in

various directions in downtown Charlottesville. James followed a group that

walked to McIntire Park where an impromptu rally was supposed to occur, but by

the time James arrived that group had dispersed.




61Because it is referred to in all the case documents as Emancipation Park, that is
the name that will be uses in this memorandum although it has since been renamed
Market Street Park.
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      On the way from Emancipation Park to McIntire Park, James met three

other people walking the same direction. They agreed to walk together for safety’s

sake on the way back downtown from McIntire Park. Since James’ car was closest,

he offered to drive everyone else back to their vehicles. After dropping off two of the

people at the Jefferson School on 4th Street, N.W., James drove to the Market Street

parking garage to drop off the third person.

      James had never been to Charlottesville before, and he had relied on his cell

phone for directions. After dropping off the last person, he entered “Maumee, Ohio”

into his Google Maps application. Confusion ensued. The directions instructed him

to continue straight, traveling west on Market Street right past Emancipation Park

and eventually coming to the intersection of Preston Avenue and Ridge-Market

Street (near the McDonald’s where he had parked) where he would turn south and

come to I-64. But unbeknownst to Google Maps, the police had left a wooden

sawhorse barricade blocking traffic at the intersection of Market Street and 4th

Street, N.E., so James could not continue west on Market Street. At the same time,

the barricade that the police had put to block the entrance to Fourth Street, N.E.,

had been moved to the side, leaving that street unobstructed.

      James turned down Fourth Street and crossed the Downtown Mall. Three

other vehicles had turned down Fourth Street in the minutes before he took that

route. It was coincidentally, in these exact minutes, that two crowds of counter-

protesters converged on Water Street blocking the intersection. As James pulled up

at the bottom of the street, two other cars were ahead of him, unable to proceed


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because of the crowd. The third vehicle (a truck) had pulled off to the right of the

street to wait. It was then that the crowd of counter-protesters began marching

northward on 4th Street.

      James was not driving around looking for counter-protesters or anyone else

to injure. But he did back up his vehicle and then made the impulsive, angry, and

aggressive decision to deliberately drive his car into the gathering crowd.

Interviewed immediately after the event, James told police that he was “scared” and

that he thought people were “attacking him.” He thought that the two cars parked

ahead of him on Fourth Street were being “swarmed” by the crowd and that he was

next. PSR ¶¶ 11-12. In reality, of course, he was not being attacked, just as the

occupants of the two cars ahead of him were not being attacked. Despite that he

may have felt trapped, in fact there were no vehicles behind him and he could have

backed up and driven away without further incident.

      Dr. Cohen’s report explains that James has a lifetime history of “outbursts of

impulsive aggression when feeling stressed.” Ex. A at 2. The most mature, stable

personalities would have been tested by the events of August 12. The scene was

absolute chaos, lasting several hours, involving hundreds of people, spread out over

the entire downtown area, and with authorities seemingly having no control over

the situation. There were helicopters overhead, smoke grenades and tear gas in the

air, police shouting through bullhorns, numerous acts of public violence overlooked

by the police, insults and anti-Semitic chants endlessly repeated, and firearms

displayed and discharged. James' impetuousness and bad decision making was


                                          32

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exacerbated in this environment. Of course it must be said plainly that none of this

excuses what he did.

   IV.      The Court should impose this sentence to run concurrently to the
            sentence that will be imposed in the state.

         James will be sentenced for his state convictions in Charlottesville Circuit

Court on July 15, 2019, following this sentencing in federal court. As this Court

knows, the state jury recommended a sentence of life plus 419 years and $480,000

in fines. As a practical matter, because the parties intend for James to serve

whatever sentence this Court imposes in federal custody before serving any state

sentence, the state sentence is the one that the Virginia Department of Corrections

will interpret for whether or not his state sentence is consecutive or concurrent to

his federal sentence. It is also appropriate for the state sentencing judge to make

that call because this case was tried in the City of Charlottesville before James pled

guilty to these federal charges. To ensure that nothing impedes the state judge

from making decision, and consistent with U.S.S.G. § 5G1.3(3), the “sentence for the

instant offense shall be imposed to run concurrently to the anticipated term of

imprisonment” in the state.

                                     CONCLUSION

         To impose a life sentence in this case would require the court to focus almost

exclusively on the seriousness of the offense to the exclusion of all other sentencing

factors this Court must consider in determining a sentence for James.

         James committed a terrible crime and deserves a harsh punishment. This

Court must weigh that uncontested fact against other mitigating factors—

                                            33

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particularly his youth, his traumatic childhood, and his mental illness. James did

not come to Charlottesville with any plan to commit an act of violence. In the space

of only a few minutes, caught in circumstances he did not intend to create, he acted

in an aggressive and impulsive manner consistent with his mental health history

and his age. In a matter of seconds he caused irreparable harm for which there is

no excuse. But this Court can understand his actions, without excusing them, as

symptomatic of transient immaturity, and not consider them to be predictive of who

he might be in the future with time and medication.

      No amount of punishment imposed on James can repair the damage he

caused to dozens of innocent people. But this Court should find that retribution has

limits. A sentence of life imprisonment would be greater than necessary to comply

with the sentencing factors listed in 18 U.S.C. § 3553(a)(2).

                                        Respectfully submitted,

                                        JAMES ALEX FIELDS, JR.

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Charlottesville, VA 22902
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                            CERTIFICATE OF SERVICE

        I hereby certify that on June 21, 2019, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, which will send a notification of such
filing (ECF) to all parties of record

                                         /s Lisa M. Lorish
                                         Lisa M. Lorish
                                         Assistant Federal Public Defender




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